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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  MICHAEL CHABON, et al.,                         Case No. 23-cv-04663-VC
                Plaintiffs,
                                                  ORDER GRANTING JOINT MOTION
         v.                                       TO DISMISS
  META PLATFORMS INC.,                            Re: Dkt. No. 18
                Defendant.



       Meta’s joint motion to dismiss is granted for the reasons given in Kadrey v. Meta

Platforms Inc., No. 3:23-cv-03417-VC, Dkt. No. 56.



       IT IS SO ORDERED.

Dated: November 20, 2023
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
